Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.194 Filed 09/30/21 Page 1 of 13

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED. STATES OF AMERICA,
No. 1:21-cr-00040

 

Plaintiff,
V. HON. ROBERT J..JONKER
Chief United States District Judge

CHRISTOPHER ALLAN BODEN,
a/k/a “Captain,”

Defendant.

/
PLEA AGREEMENT

This. constitutes the plea-agreement between Christopher Allan Boden and the United
States Attorney’s Office for the Western District of Michigan. The terms of the agreement are
as follows:

1. The Defendant Agrees to Plead Guilty. The defendant. agrees to plead guilty
to Counts 2, 16, and 21 of the Indictment. Count 2 of the Indictment charges the defendant with
operating an unlicensed money transmitting business in violation of Title 18, United States Code,
Section 1960. Count 16 of the Indictment charges the defendant with money laundering in
violation of Title 18, United States Code, Section 1956(a)(3)(B). Count 21 of the Indictment
charges the defendant with structuring, in violation of Title 31, United States Code, Section
5324(a)(3), (d).

2. The Defendant Understands the Crimes.

a In order for the defendant to be guilty of violating Title 18, United States

Code; Section 1960, the following must be true:

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.195 Filed 09/30/21 Page 2 of 13

Ii.

iii.

First, the defendant knowingly operated a money transmitting
business.

Second, the business affected interstate commerce.

Third, either (A) the defendant and business. failed to comply with
the money transmitting business registration requirements of 31
U-S.C. § 5330 or regulations prescribed under such section, and the
defendant knew the business was not registered with the federal
government, or (B) the defendant knew that the business involved
the transmission of funds derived from a criminal offense and
intended to be used to erumote or support unlawful activity,
specifically that the funds were used to purchase or derived from

selling controlled.substances,

b. In order for the defendant to be guilty of violating Title 18, United States

Code, Section 1956(a)(3)(B), the following must be true:

i.

“H,

ili.

First, the defendant conducted a financial transaction.

Second, the property involved in the financial transaction was
represented to be the proceeds of the distribution of a controlled
substance.

Third, the defendant had the intent to conceal or disguise the:
nature, location, source, ownership, or control of property believed

to be the proceeds of specified unlawful activity.

i)
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.196 Filed 09/30/21 Page 3 of 13

c. In order for the defendant to be guilty of violating Title 31, United States.
Code, Section. 5324(a)(3), (d), the following must be true:

i. First, the defendant engaged in acts. of structuring.

ii. | Second, the defendant knew that the financial institutions involved
were legally obligated to report currency transactions in excess of
$10,000.

ili. Third, the defendant acted with the intent to evade this reporting
requirement.

iv. Fourth, the defendant did so while violating another law of the
United States or as part of a pattern of illegal activity involving
more than $100,000 in a 12-month period.

The defendant is pleading guilty because the defendant is guilty of the charges described above.
3. The Defendant Understands the Penalties.
a. The. statutory maximum sentence that the Court can impose for a violation
of Title 18, United States-Code, Section 1960, is the following:
i. not more than five years of imprisonment;
ii, not more than three years of supervised release;
iii. a$250,000-fine: and
iv. a$100 mandatory special assessment.
b. The statutory maximum sentence that the Court can impose for a violation
of Title 18, United States Code, Section 1956(a)(3)(B), is the following:

i. ‘not more than twenty years of imprisonment;

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.197 Filed 09/30/21 Page 4 of 13

ii. not more.than three years of supervised release;
ili, a $250,000 fine; and
iv. a$100 mandatory special assessment.
c. The statutory maximum sentence that the Court can impose for a violation
of Title 31, United States Code, Section 5324(a)(3), (d), is the following:
i. not more than ten years of imprisonment;
ii. not more than three years of supervised release;
iii, a $500,000 fine; and
iv. a$100 mandatory special assessment.
The defendant agrees to pay the special assessments at or before the time of sentencing unless
the defendant affirmatively demonstrates to the Court that he lacks the ability to pay.

4, Supervised Release Defined. Supervised release is a period of time following
imprisonment during which the defendant will be-subject to various restrictions and
requirements. The defendant understands’ that if he violates one or more of the conditions of
any supervised release imposed, he may be returned to prison for all or part of the term of
supervised release, which could result in the defendant serving a total term of imprisonment
greater than the statutory maximum stated above.

5. Asset Forfeiture and Financial Accountability. The defendant agrees to fully
cooperate with the federal government in the seizure and forfeiture of assets under Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c),
which includes all property, real or personal, which constitutes or is derived from proceeds

traceable to a violation of Title 18, United States Code, Section 371, conspiracy to violate Title
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.198 Filed 09/30/21 Page 5 of 13

18, United States Code, Section 1960 (Count 1 of the Indictment), and any property traceable to
such property. Specifically, the defendant.agrees to forfeit all right, title,-and interest in all
virtual currency accessible from wallets associated with two Trezor devices seized from The
Geek Group on December 21, 2018, comprising at least 0.365 BTC. The defendant further
agrees to the entry of a forfeiture money judgment. in the amount of $75,000, which sum
represents the proceeds derived from the commission of the felony violation alleged in Count 1.
of the Indictment, or is traceable thereto.

6. Factual Basis of Guilt, The defendant and the U.S. Attorney’s Office agree
and stipulate to the following statement of facts which need not be proven at the time of the plea
or sentencing, and which does not include all of the facts underlying the defendant’s guilt:

a. The defendant was the President of The Geek Group in Grand Rapids,
Michigan. There he worked with the Executive Director, Leesa Beth Vogt, a/k/a“Lis Bokt,”
a/k/a “Moose,” a consultant, Daniel Reynold DeJager, a/k/a “Daniel Reynold,” a/k/a “Daniel
Miester,” a/k/a “Danichi,” and Jeremy Swink, among others. In his capacity as President the
defendant was ultimately in charge of all operations at The Geek Group and regularly directed its
staff members.

b. Between approximately March 2017 and December 2018, thie defendant
and his co-defendants conspired and agreed to operate, and in fact operated, an unlicensed
money transmitting business. The defendant was in the business of selling bitcoin to various
customers, and supervised and directed others at The Geek Group in selling it. He obtained the
bitcoin from DeJager, who in turn was purchasing it from exchanges. The defendant took a

profit from the proceeds of the bitcoin’sales and used the'rest to purchase more bitcoin to be sold

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.199 Filed 09/30/21 Page 6 of 13

in the scheme. The defendant and his co-defendants sold more than $740,000 in bitcoin. The:
defendant knew that some of his customers were involved in buying and selling controlled
substances, and he sold these customers bitcoin knowing that the cash he received in return was
derived from the sale of controlled substances, or that the bitcoin would be used to purchase
controlled substances.

C, The defendant sent, or directed others to send, U.S. currency, including the
proceeds from the sales of bitcoin, to DeJager using a Chase Bank account with a number ending
in 6810, or by other means. The defendants recorded deposits in the Chase Bank account by
sending Facebook messages to each other. The defendant and his co-defendants kept each
financial transaction—both with the: banks and the exchanges—below $10,000 so as to avoid
detection by the banking system. The defendant and his co-defendants never registered as a
money services business or monéy transmitter with the United States Department of the
Treasury.

d. The defendant and DeJager. sometimes “mixed” or “tumbled” the
bitcoin—that is, they laundered it—before sellingit. The defendant. and DeJager‘agreed to do
this in order to promote their unlicensed money transmitting business and to conceal the origin of
the bitcoin. The-defendant would tell customers that he sold “clean” bitcoin that could not be
traced to them, unlike licensed.exchanges, which the:defendant said sold “dirty” bitcoin. For
example, in one of the instances: of mixing, on June:5, 2017, DeJager mixed 2.14 BTC before
‘sending it to Boden. He did-so by usinga mixing service. The bitcoin represented the proceeds

of operating an unlicensed money transmitting business, and the defendant knew this. In mixing.
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.200 Filed 09/30/21 Page 7 of 13

the bitcoin, the defendant intended to conceal and disguise the origin of the bitcoin and promote
the operation of the unlicensed money transmitting business.

€. On December 7, 2018, the defendant and DeJager sold bitcoin at The
Geek Group to an undercover agent in exchange for $15,000 in cash. During that transaction,
and during an earlier transaction at The Geek Group during which the.defendant and DeJager
were present, the undercover agent represented that. the cash used to purchase the bitcoin was
proceeds. from the sale of cocaine. In selling the bitcoin to the undercover agent, the defendant
intended to conceal and disguise the origin of the cash.

f. The defendant directed Vogt and Swink. to deposit proceeds from the sales
of bitcoin at The Geek Group in the Chase Bank account. The co-defendants intentionally
deposited less than $10,000 each day that deposits were made, at the defendant’s direction and
with his. agreement, for the purpose of avoiding the bank filing a currency transaction report. In
total, the defendant deposited, directed the deposit of, or aided and abetted the deposit of, more
than $100,000 in a 12-month period, which included January 2018, as part of a pattetn of illegal
activity. The defendant so acted while violating other laws of the United States, namely
conspiracy to operate an unlicensed money transmitting business, in violation of 18 U:S.C.

§§ 371 and 1960, operating an unlicensed money transmitting business, in violation of 18 U.S.C.
§ 1960, and money laundering (including but not limited to conspiracy to launder money), in
violation of 18 U.S.C. §. 1956.

g. During Januaty 2018, the defendant supervised and aided and. abetted 38

ATM deposits at Chase Bank totaling $64,605, each consisting of currency not exceeding

$10,000, and 17 related debits to virtual currency exchanges Gemini and Glidera totaling

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.201 Filed 09/30/21 Page 8.of 13

$63,480.03. The-deposits were made at branches in Grand Rapids and East Grand Rapids,
Michigan. ‘The defendant.was notified of the deposits by the co-defendants-who made them on
Facebook. The defendant knew that the deposits were to be used by DeJager to purchase more
bitcoin, which would then be transferred to the defendant to sell; or for other staff members at
The Geek Group to sell.

7. The United States Attorney’s Office Agrees.

a. Dismissal of Other Counts/Charges. § The U.S. Attorney’s Office
agrees to move to dismiss the remaining counts of the Indictment against the defendant at the
time of sentencing. The defendant agrees, however, that in determining the sentence the Court
may consider the dismissed counts in determining the applicable range under the United States
Sentencing Guidelines (“Guidelines”), where the sentence should fall within the applicable
Guidelines range, and the propriety of any departure from the calculated Guidelines range. By
this agreement the defendant does not concede that an increased sentence. or an-upward departure
is, in fact, warranted.

b. Acceptance of Responsibility. The U.S. Attorney’s Office agrees not.
to oppose the defendant’s request for a two-level reduction of his: offense level for acceptance of
responsibility under Section 3E1.1(a) of the Guidelines. However, the U.S. Attorney’s Office
reserves the right to object.to'the defendant’s request if it subsequently learns of conduct by the
defendant that is inconsistent with the criteria set forth in the Commentary to Section 3E1.1.
Should the Court grant a two-level reduction as provided herein, the U.S. Attotney’s Office will
move the Court to grant an additional one-level reduction if the adjusted offense level is 16 or

greater pursuant to-Section 3E1.1(b).
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.202 Filed 09/30/21 Page 9 of 13

8. The Sentensing Guidelines. | The defendant understands that, although the
Guidelines are.not mandatory, the Court must consult the Guidelines and take them into account
when sentencing the defendant. The defendant understands that the Court, with the aid of the
presentence report, will determine the. facts and calculations relevant to sentencing. The
defendant understands that the defendant and the defendant’s attorney will have the opportunity
to review the presentence. report and to make objections, suggestions, and recommendations
concerning the calculation of the Guidelines range and the sentence to be imposed. The.
defendant further understands that. the Court shall make the final determination of the Guidelines
range that. applies in this case,.and may impose a sentence within, above, or below the Guidelinés
range, subject to the statutory maximum penalties described elsewhere in this agreement. The
defendant further understands that:disagreement with the Guidelines range or sentence shall not
constitute a basis for withdrawal of the plea.

9. There is No Agreement About the Final Sentencing Guidelines Range. The
defendant and the U.S. Attorney’s Office have no agreement as to the applicable Guidelines
factors or the appropriate Guidelines range. Both parties reserve the right to seek any sentence
within the statutory maximum, and to argue for any criminal history category and score, offense.
level, specific offense characteristics, adjustments, and departures.

10. Waiver of Constitutional Rights. By pleading guilty, the defendant gives up
the right to persist in a plea of not guilty and the right to a speedy and public trial by jury or by
the Court. As a-result of the defendant’s guilty plea, there will be no trial. At any trial, whetlier

by jury or by the Court, the deferidant would have had the following tights:

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.203 Filed 09/30/21 Page 10 of 13

a. The right to the assistance of counsel, including, if the.defendant could not
afford an attorney, the right to have the Court appoint.an attorney to represent the defendant.

b. The right to be presumed innocent and to have the burden of proof placed
on the government to prove the defendant guilty beyond a reasonable doubt.

C. The right to confront and cross-examine witnesses against the defendant.

d. The right, if the defendant wished, to testify on the defendant’s own behalf
and present evidence in opposition to the charges, including the right to call witnessés and to
subpoena those witnesses to testify.

€: The right not to be compelled to testify,.and, if the defendant chose not to
testify or present evidence, to have that choice not be used against the defendant.

f. By pleading guilty, the defendant also gives up any and all rights to pursue
in this Court of on appeal any affirmative defenses, Fourth Amendment, or Fifth Amendment
claims, and other pretrial motions that have been filed or could be filed.

11. Waiver of Other Rights.
| a. FOIA Requests. The defendant hereby waives all rights, whether
asserted directly or by a representative, to request or réceive from any department or agency of
the United States any recordspertaining to, the investigation or prosecution of this case, including
without limitation any records that may be sought under the Freedom of Information Act,.5
U.S.C, § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.
b. Hyde Waiver. The defendant acknowledges, by his voluntary

admission of guilt, that the position of the.U.S. Attorney’s Office in this case is not.vexatious,

10
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.204 Filed 09/30/21 Page 11 of 13

frivolous, or in bad faith, and he hereby disclaims and waives any right to make any claim for
attorney fees.

‘12. The Court is Not a Party to this Agreement. The defendant understands that
the Court is not a party to this agreement and is under no obligation to accept any
recommendation by the U.S. Attorney’s Office or the parties regarding the sentence to be
imposed. The defendant further understands that, even.if the Court ignores such a.
recommendation or imposes any sentence up to the maximum established by statute, the
defendant cannot, for that reason,. withdraw his guilty plea, and he will remain bound to fulfill all
his obligations under this agreement. The defendant understands that no one—not the
prosecutor, the defendant’s attorney, or the. Court—can make a binding prediction or promise
regarding the sentence thé defendant will receive, except that it will be within the-statutory
maximum.

13. This Agreement is Limited to the Parties.. This agreement is limited to the
U.S. Attorney’s Office for the Western District of Michigan, and cannot bind any other federal, .
state, or local prosecuting, administrative, or regulatory authority. This agreement applies only
to crimes committed by the defendant. This agreement does not apply to or preclude any past,
present, or future forfeiture or civil actions.

14. Consequences of Breach. If the defendant breaches any provision of this
agreement, whether before or after sentencing, the United States shall have the right to terminate
this agreement, or deny any or all benefits to which the defendant would otherwise be entitled
under the terms of this agreement. In the event that the United States elects to terminate this

agreement, the agreement shall be considered null and void, and the parties shall return to the

11

 
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.205 Filed 09/30/21 Page 12 of 13

same position they weré in prior to the execution of this agreement, as though no agreement ever
existed. In such an event, the defendant shall remain liable for prosecution-on all original
charges, and the United States.shall be free to bring such additional charges.as the law and facts
warrant. The defendant further agrees-to waive and forever give up his right to raise any claim
that such a prosecution is time-barred if the prosecution is brought within one (1). year of the
breach that gives rise to the termination of this agreement.

15. This is the Complete Agreement. This agreement has been entered into by
both sides frecly, knowingly, and voluntarily, and it incorporates the: complete understanding:

between the parties. No other promises have been made, nor may any additional agreements,

12
Case 1:21-cr-00040-RJJ ECF No. 51, PagelD.206 Filed 09/30/21 Page 13 of 13

understandings, or conditions be entered into unless in a writing signed by all parties or on the

record in open court.

ANDREW BYERLY BIRGE

United States Attorne z_L—

STIN M. PRESANT
Assistant United States Attorney

I have read this agreement and carefully discussed every part of it with my attorney. |
understand the terms of this agreement, and | voluntarily agree to those terms. My attorney has
advised me of my rights, of possible defenses, of the sentencing provisions, and of the
consequences of entering into this agreement. No promises or inducements have been made to
me other than those contained in this agreement. No onc has threatened or forced me in any
way to enter into this agreement. Finally, I am satisfied with the representation of my attorney
in this matter.

es 29/2O2/

Date

   

 

4/50 /u

Date

    

 

 

  

ISTOPHER ALLAN BODEN
Defendant

1 am Christopher Allan Boden’s attorney. I have carefully discussed every part of this
agreement with my client. Further, I have fully advised my client of his rights, of possible
defenses, of the sentencing provisions, and of the consequences of entering into this agreement.
To my knowledge, my client’s decision to enter into this agreement is an informed and voluntary
one

VE 1/202 I
Date :

BRIAN PATRICK LENNON
Attorney for Defendant

 

 

—
ta

   

 
